Case 1:18-CV-00872-LO-|D_L)_ Document 1-1 Filed 07/13/18 Page 1 of 3 Page|D# 30
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UNITED STATEB DEPARTMENT GF JUSTICE
EXECUTIVE OFFICE FOR IMMIGRATION REV£EW
IMMIGRATION COURT
1901 S. BELL STHEET, SUITE 209
ARLINGTON, VA 22202

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Fiimviiie; vA 23901

In the matter of Pile A 299”225~933 DATE: May 15, 2019
SANCHEZ»ACOSTA, JULIO CESAR

vw Unable to forward - No addreee provided.
”X” Acteehed is a copy of the decision of the Immigretien Judge. Thie decision
ie final unleee en appeal is filed with the Board of Immigretien Appeels
within 30 calendar days of the date of the mailing of this written decieien.
See the enclosed forma end inetruetione fer properly preparing your appeai.
Your notice vi appeai, attached documente, end fee or fee waiver request
meet be mailed te: Boerd of Immiqretion Appeals
foi¢e of the Clerk
510? Leeeburg Pike, Suite 2009
Felie Church, VA 22041
Aeemeh@d ie a copy of the deeieion of the immigration judge ma the result
of your Faiiure to Appeer at your eeheduied deportation er removal hearing.
Thie decision ie final unless a Mction to Reepen is filed in accordance
with SeGCien 242b(e){3) of the Immigratien and Nationeiity Aet, B U.$.G. §
i?$Zb(e}($) in deportetien proeeedinge or eection 240{b){5}{€), 8 U.S.C. §
l£29e{b>(§)(€} in xemevel promeedinge. If you file e motion to reopen, yeur
motion muet be filed with this court:
IMMIGRATIGN CQURT
igol E. BELL STREET, SUITE 200
ARLINGTQN, VA 22202
Atteehed is a copy of the decision of the immigration judge relating to e
Reeeonmhie Feer Review. Thie is a final erder. Pureuene to 9 C.F.R. §
liOB.$l(g)(l}, ne adminietretive appeal ie eveiiebie. Hnwever, you may file
a petition for review within 30 days with the appropriate Cireuit Court cf
Appeele te appeal this deeieien pureuent to 3 U,S.C, § 1252; INA §2€2.

Attaehed ie e ¢opy of the decision of the immigration judge relating to e
Credihie Feer Review. Thie is a final order. No appeal ie eveiieble.

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1901 SOUTH BELL STREET, eis WL
ARLTNQTGM, vn, 322$2

Case 1:18-cv-00872-LO-|D[p ,Document 1-1 Filed 07/13/18 P_§ge 2 of 3 Page|D# 31

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IMMIGRATIGN C$URT
1991 S. BELL STREET, $UITE 209
ARLINGTON, VA 22202

In the Metter of
Ceee No.: A209~225*933

SANCHEZ-ACGBTA, JULIO GESAR
Reepondent IN REMOVAL PROCEEDINGS

GRDEB OF THE IMMIGRATION JUDGE

_ .»\*"
Thie le a eummery of the oral decision entered on AF* f .
Thie memorandum is solely for the convenience of the iertf el If the

proceedings should be appealed or reopened, the oral eeoieion will become

thifp£?ioinl opinion in the oeee.
f The reeoonoent was ordered removed from the United Stetee woz§;fwé§/CMZ%FMQBAMH
or in the elternetive to .

[ ] Reepondent‘ e application fox voluntary departure mae denied end
reepondent was ordered removed to or in the
l alternative to .
[ 1 Reepondent' e appiioetion for vol.untery departure wee granted until
upon poeting e bond in the amount of $
with en alternate order of removal to .
Reepondent'e epplieetion for:
[w}x”§eylum wee { )qrentee f )deqieUT )witndrewn.
Withholdinq of removel wee (uflgrenLed ( leeeeee” ( )wrreeeewe»
A Weiver under Seotion was { }greneeo ( )denied ( }wihherewn.
[ ] Cencelletion of removel under eeoiion 240A{e} wee ( quented ( )doniod
§ )withdrewn.
Reepondent‘e application for:
[ § Cencelletion under eeetion RQOA{b}{l} w&$ ( 3 granted ( ) denieo
{ ) withdrewn. lf grented, it ie ordered then the reepondenr be issued
all appropriate dooumente neeeeeery to give effect to this order.
§ l Cencelletion under eeetion EAOA(b) {2} wee [ )qrented { )denieo
{ )withdrewn. If granted it ie ordered that the reepondent be issued
ell appropriated documente neceeeery to give effect to this order.
[ ] Adjuetment of Btetoe under Seetion wee f )grented ( )denied
( )witndrewn. IE granted it ie ordered thet the reepondent be issued
ell appropriated documents neoeeeery to give effect to thie order.
[ } Reepondent’e application of ( } withholding of removal § ) deferral of
removal under ertiole III of the Convention egeioet Torture wes
( } granted f ) denied ( ) withdrewn.
[ ] Reepondent'e statue wee rescinded under eeotion 246.
[ 1 Reepondent is admitted to the United Stetee eo a mmwm until_ .
[ l
[ l

A$ o condition of edmiseion, reepondent ie to poem a $ mw bond.
Reepondent knowingly filed a frivoloue eeylmm eppiioetion after proper

notice.
E 1 Reepondent wee advised of the limitation en discretionary relief for

failure to appear ee ordered in the lmmigretion dege'e oral deeleion.
[ ] Prooeedinge were terminated.
f ] Otherr

never ef`"“!..i"“" IW F /%MM¢ 62 /;K/f£»»¢f%;e#gw~

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ALIF'.»N NUMF$H§R: 209“225“933 NAME-: SANCHEZ“ACGBTA, JULI'G CE$AR

 

 

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CJS

